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PEARSON, J.

                              UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF OHIO
                                    EASTERN DIVISION


 UNIQUE DESIGNS, LLC,                            )
                                                 )   CASE NO. 5:23-CV-2164
                     Plaintiff,                  )
                                                 )
                    v.                           )
                                                 )   JUDGE BENITA Y. PEARSON
 SIGNET JEWELERS LTD., et al.,                   )
                                                 )
                     Defendants.                 )   ORDER OF DISMISSAL



       Plaintiff has voluntarily dismissed its Complaint against Defendants with prejudice. ECF

No. 3. Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), the Court dismisses the case with prejudice.

       Upon the parties’ request, the Court will retain jurisdiction to enforce the settlement in

this matter. In order for the Court to do so, the parties are directed to submit a copy of the

executed settlement agreement to judy_guyer@ohnd.uscorts.gov.



       IT IS SO ORDERED.


 November 30, 2023                                        /s/ Benita Y. Pearson
 Date                                                    Benita Y. Pearson
                                                         United States District Judge
